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 1                                              THE HONORABLE BARBARA J. ROTHSTEIN
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9
     TATIANA WESTBROOK, an individual;
10   JAMES WESTBROOK, an individual; HALO
     BEAUTY PARTNERS, LLC, a Nevada Limited NO. 2:20-cv-01606-BJR
11   Liability Company,
12                              Plaintiffs,        DECLARATION OF MICHAEL J.
                                                   SALTZ IN RESPONSE TO REQUEST
13         v.                                      FOR STATUS CONFERENCE
14   KATIE JOY PAULSON, an individual;
     WITHOUT A CRYSTAL BALL, LLC, a
15   Minnesota Limited Liability Company; and
     DOES 1 through 100, inclusive,
16
                                Defendants.
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     DECLARATION OF MICHAEL J.                    CARROLL, BIDDLE, & BILANKO, PLLC
     SALTZ -1                                            1000 2nd Avenue, Suite 3100
     (2:20-CV-01606-BJR)                                     Seattle, WA 98104
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 1          I, MICHAEL J. SALTZ, hereby state as follows:
 2          1.      I am an attorney admitted pro hac vice to appear before the U.S. District Court for
 3   the Western District of Washington in the above-captioned matter, and am a partner of Jacobson,
 4   Russell, Saltz, Nassim & de la Torre, LLP, counsel for Plaintiffs Tatiana Westbrook, James
 5   Westbrook, and Halo Beauty Partners, LLC in this matter. I am over the age of eighteen and am
 6   competent to testify to the facts stated herein.
 7          2.      I am familiar with Washington RPC 3.6. I have a personal Twitter account that I
 8   have used to investigate the facts of this case and to obtain public assistance in the collection of
 9   evidence and information. To be certain, because a significant portion of the statements at issue
10   in this case were published to a specific and specialized audience on Twitter, I have gone on to

11   Twitter to both collect evidence of said statements and identify potential witnesses and other
12   information to help prove the elements of our claims or to better understand the evidence that is
13   being provided to us by hundreds of informants and potential witnesses.
14          3.      To the extent that I have commented on this case on my Twitter account, it has
15   been within the ambit of the rule. Some tweets have been to specifically respond to Ms.
16   Paulson’s numerous unprovoked prejudicial statements.            For example, shortly after the

17   Complaint was filed, I was informed that Ms. Paulson made an unprovoked prejudicial statement
18   about this case on her YouTube channel that was directly contradictory to a previous statement
19   she made. In response, I tweeted:
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     DECLARATION OF MICHAEL J.                          CARROLL, BIDDLE, & BILANKO, PLLC
     SALTZ -2                                                     1000 2nd Avenue, Suite 3100
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23   Ms. Paulson blocked my Twitter account shortly after my clients filed their lawsuit.
24          4.      Otherwise, my tweets that are related to the case have been limited to the
25   investigation of this matter in progress, and requests for assistance in obtaining evidence and
26   information necessary to this matter. For example,

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            5.      None of my public statements will have a substantial likelihood of materially
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     prejudicing this case. It is my belief that Defendants are, through these proceedings, attempting
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     to inhibit our ability to perform our investigation of this matter and seek the public’s assistance

     DECLARATION OF MICHAEL J.                         CARROLL, BIDDLE, & BILANKO, PLLC
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 1   in obtaining evidence and information on Twitter because the amount of information and
 2   assistance that we have been able to obtain thus far through Twitter has been both extensive and
 3   extremely beneficial to Plaintiffs obtaining information and witnesses that would have been near
 4   impossible to find through other means.
 5          6.     Currently, Ms. Paulson has 8,430 followers on Twitter and approximately
 6   135,000 subscribers on YouTube.
 7          7.     In or about the beginning of November 2020, after the filing of this lawsuit, I was
 8   monitoring Twitter and YouTube for information regarding Defendants’ activities on social
 9   media. In doing so, I observed that a number of people on Twitter, and a number of YouTube
10   creators, all of whom have published negative criticisms about Defendants, were publicizing that

11   their social media accounts were being attacked by hackers.
12          8.     On or about November 19, 2020, while attending a mediation in Los Angeles,
13   California, I noticed on my mobile phone that there had been an unauthorized attempt to access
14   my Instagram account. Although I have had an Instagram account for a number of years, no one
15   had ever previously, to my knowledge, tried to hack into my Instagram account. As such, I found
16   the timing of the attempted hack into my Instagram account to be too much of a coincidence, in

17   that the first time a person attempted to hack into my account was around the same time that Ms.
18   Paulson’s detractors’ social media accounts were also purportedly under attack by hackers.
19          9.     On or about January 7, 2021, I was alerted to a particular series of tweets from a
20   Twitter account that I recognize as belonging to Ms. Paulson. I learned that said Tweet was part
21   of a series of postings Ms. Paulson was purportedly posting containing public statements about
22   this lawsuit, and containing particular threats and insults directed at myself and Plaintiffs’
23   witnesses. Given the benefit of reviewing said tweets after recent events, it is my observation
24   that one of these tweets appears to contain a possible admission by Ms. Paulson that she is the
25   benefactor of my law firm’s email account potentially being hacked. The tweet in questions
26

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 1   states: “Email communications go both ways – trust me. Just like I’m being watched – so are
 2   you. We know everything.” Below is a true and correct copy of a screenshot of said tweet:
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            10.     On or about January 7, 2021, I personally viewed a video livestream of Ms.
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     Paulson on Defendants’ Katie Joy Live YouTube Channel titled “The worst day ever.” In
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     watching said video, I observed Ms. Paulson tell her subscribers to go after her detractors to
12
     defend Ms. Paulson, and to let Ms. Paulson know who the detractors are so she can “put them on
13
     blast. They’re not going to mess with you – we’ll take care of it.”1 I have obtained a download of
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     said video from Defendants’ YouTube channel without the live chat (live chat is not subject to
15
     download from YouTube as part of the video) and have placed it into a Dropbox for the Court to
16
     view at its convenience at this link:
17
     https://www.dropbox.com/s/nxzflpn7akqtqqj/2021.01.07%20The%20worst%20day%20ever%20
18
     %28KJ%20Live%29.mp4?dl=0 .
19
            11.     Specifically, in this video, I personally observed Ms. Paulson make the following
20
     statement starting at time stamp 1:08:56:
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            The vintage Katie is back. I am not placating. I'm not gonna pretend to be less me.
22          I'm not gonna listen to my YouTube manager and be like: “you should do things
            that don't upset your audience.” Dude, everything I do upsets my audience. Like,
23          no. “Well are there topics that you can avoid?”
24   1
       “Put on blast” means to tell someone's information to others without their consent. This
25   includes doxing. See http://onlineslangdictionary.com/meaning-definition-of/put-on-blast . It
     also     means     to publicly attack, scold, shame, or mock one, typically on social media. See
26   https://idioms.thefreedictionary.com/put+on+blast .


     DECLARATION OF MICHAEL J.                         CARROLL, BIDDLE, & BILANKO, PLLC
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 1          Anyways, don't feel bad about defending me. Defend me! Go for it! Have fun!
             Like, don't feel like just because you defend me that they can make an example
 2          out of you, because we'll make an example out of them!
 3          We will! We'll prove to everyone what they're doing to you guys.
 4          Don't be quiet. Don't be shy. Speak your truth.
 5          I always used to say, like: “Don't feel like you have to defend me.” But now I'm
            saying like, if you're seeing this bullshit, and you feel compelled, you can defend
 6          me. You can!
 7          You can speak out against bullying. You can!
 8          You can tell the trolls to “go away!” You can tell them they're not welcome. The
            reason why they are so, um, invested here, is because they feel like they can, and
 9          that you guys aren't going to respond because I've told you not to. And they've
            manipulated that. And they have pounced on that.
10
            So I just say: I have your back. You're not going to get harassed. And if you do,
11          you just send me a dm and you tell me, and I'll put them on blast! They're not
            going to mess with you. We'll take care of it.
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            12.     On or about January 16, 2021, a massive and relentless harassment and hacking
13
     campaign was unleashed against Ms. Paulson’s purported private detractors, YouTube Creators
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     that have been critical of Ms. Paulson, persons who have been publicly identified as witnesses
15
     and informants against Defendants, and Plaintiffs’ counsel. A small portion of the extent of said
16
     harassment and hacking campaign is memorialized in the concurrently filed declaration of
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     Natalie Kennett, which memorializes the harassment, intimidation and death threats she has been
18
     receiving for being a witness for Plaintiffs’ in this case, as well as the intimidation, death threats
19
     and harassment other perceived detractors of Ms. Paulson have received publicly on Twitter.
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            13.     On January 16, 2021, there were hacking attempts made on my Google and
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     Twitter accounts. Below is a true and correct copy of my tweet memorializing the hacking
22
     attempt, which I posted in an attempt to ward off other hacking attempts:
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     DECLARATION OF MICHAEL J.                           CARROLL, BIDDLE, & BILANKO, PLLC
     SALTZ -7                                                       1000 2nd Avenue, Suite 3100
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14          14.     As shown in the Google Verification Code notice above, it states that my email
15   address was being added as a recovery email address for Ms. Paulson’s email account. This
16   means that, had the Google notice been legitimate, I would have been able to click on a link and

17   sign into Ms. Paulson’s email account and archive all of her emails. However, because illegally
18   hacking into a party’s emails is something I would never do, I investigated the notice and
19   determined that the Google notice was a fake phishing notice. I determined that had I clicked on
20   any of the links, my email account credentials would have been hacked. My tweet above did not
21   directly accuse Ms. Paulson of being the source of this hacking attempt.
22          15.     Starting on January 16, 2021, I personally observed and documented the
23   harassment and threats that were being made against Ms. Paulson’s perceived detractors,
24   including the death threats being made against me and my family and other YouTube creators,
25   and I can attest to what happened on Twitter and elsewhere after Ms. Paulson’s aforementioned
26

     DECLARATION OF MICHAEL J.                         CARROLL, BIDDLE, & BILANKO, PLLC
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 1   statement is far more extensive and disturbing than that of which has been portrayed in Ms.
 2   Kennett’s declaration.
 3          16.     By way of example, and not limitation, in addition to the multitude of death
 4   threats against me that I have received multiple times a day since January 16, 2021 to the
 5   present, and in addition to the threats from the hackers to plant evidence in my email account as
 6   part of a plan to frame me as a pedophile (see screenshots attached to the Declaration of Natalie
 7   Kennett disclosing this plan), the hackers have sent me very disturbing messages threatening to
 8   kill my witnesses and my children if I do not stop pursuing this case against Ms. Paulson. In one
 9   such instance, on or about January 21, 2021, the purported hackers created a Twitter account
10   under the name “@Hannah233303” using an image of my youngest daughter as the profile

11   picture. The purported hackers then sent me a public message intimating that harm will come to
12   my children if I do not leave Ms. Paulson alone. Below is a true and correct copy of a Twitter
13   screenshot I obtained of said posting:
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     DECLARATION OF MICHAEL J.                        CARROLL, BIDDLE, & BILANKO, PLLC
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 1          17.     Shortly after said tweet was sent threatening harm to my children, I received a
 2   private direct message on my Twitter account from the aforementioned Hannah account that said
 3   my family will face the consequences if I remain on the case. Below is a true and correct copy of
 4   a Twitter screenshot I obtained of said message:
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18          18.     From January 16, 2021 through to the filing of this declaration, I have received

19   information from multiple YouTube channel creators that publish commentary videos on

20   YouTube. Specifically, I have been informed that a significant number of YouTube channel

21   creators that have published videos critical of Ms. Paulson have, since January 16, 2021 to the

22   present: (1) had their social media accounts hacked; (2) have been the recipients of a significant

23   number of hacking attempts into their social media; (3) have received harassing emails; (4) have

24   received death threats; and/or (5) have had their non-offensive content mass flagged on YouTube

25   and/or Instagram.

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     DECLARATION OF MICHAEL J.                          CARROLL, BIDDLE, & BILANKO, PLLC
     SALTZ -10                                                   1000 2nd Avenue, Suite 3100
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 1          19.     I have also observed that the purported hackers have even gone after and harassed
 2   Defendants’ former paid members from Washington. Specifically, on or about January 12, 2021,
 3   I witnessed a person that I will identify as Ms. S for her own protection, participate in a live chat
 4   during a live stream video as a paid member of Defendants’ Katie Joy Live YouTube Channel.
 5   During the video, Ms. Paulson asked if anyone ever had to take their child to a trauma center.
 6   Ms. S answered that she had. This caused individuals in the chat to ask Ms. S if her child got
 7   better. Ms. S responded that her daughter died at the age of 10 from cancer. Ms. Paulson saw that
 8   the live chat’s attention had shifted from her to Ms. S with people giving Ms. S their
 9   condolences. Ms. Paulson thereafter became visibly angry and called out Ms. S for taking the
10   attention of the viewers away from Ms. Paulson telling her story. Thereafter, Ms. S published on

11   Twitter certain posts about the experience and that, as a Washington resident, canceled her paid
12   memberships to Defendants’ YouTube channels. Below are true and correct Twitter screenshots
13   I obtained of Ms. S’s tweets saying she canceled her paid memberships that had been providing
14   Ms. Paulson income from the state of Washington:
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     DECLARATION OF MICHAEL J.                          CARROLL, BIDDLE, & BILANKO, PLLC
     SALTZ -11                                                     1000 2nd Avenue, Suite 3100
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 1          20.     On or about January 16, 2021, I observed the purported hackers target, harass and
 2   bully Ms. S by sub-tweeting under Ms. S’s tribute to her daughter’s memory that Ms. S should
 3   “get over it.” Below are true and correct Twitter screenshots I obtained of said harassing tweets.
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14          21.     As a direct result of such public displays of targeted harassment, threats and
15   hacking of Ms. Paulson’s detractors and critics, I received multiple messages from witnesses that
16   have previously agreed to cooperate and/or testify in these proceedings stating that they are now

17   too scared to do so because they do not want to be targeted by the hackers.
18          22.     On January 18, 2021, I began to receive direct messages from at least one of the
19   purported hackers who disclosed that Ms. Paulson directed her to harass and hack my accounts,
20   as well as our witnesses’ accounts. Below is a true and correct copy of some of those messages:
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     DECLARATION OF MICHAEL J.                         CARROLL, BIDDLE, & BILANKO, PLLC
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             23.    Out of concern for the safety and well-being of our witnesses, at 8:21 a.m. PST on
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     January 18, 2020, I emailed Mr. Brown to advise him of the intimidation of our witnesses and
12
     massive hacking of the accounts of individuals related to this case. I requested a telephone call
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     with Mr. Brown to discuss this situation. Mr. Brown never responded to my request for a call.
14
     A copy of my first email is attached as Exhibit A to Mr. Brown’s Declaration (Dkt. 41).
15
             24.    I exchanged several emails with Mr. Brown on January 18, 2021. Attached as
16
     Exhibit 1 is a true and correct copy of all of the emails exchanged between us on January 18,
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     2021.
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             25.    No attempt was made by Mr. Brown to substantively discuss the matter prior to
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     filing Defendants’ Request for Status Conference. I received a notification at 5:53 p.m. PST that
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     Defendants had filed the Request for Status Conference. Attached as Exhibit 2 is a true and
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     correct copy of the Notice of Electronic Filing dated January 18, 2021.
22
             26.    In response to the hacking attempts, incessant harassing emails, and threats to me
23
     and my family, I contacted the Federal Bureau of Investigation and the Los Angeles Police
24
     Department and informed them of said events. We are now working with the authorities to
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     pursue investigations into this matter.
26

     DECLARATION OF MICHAEL J.                         CARROLL, BIDDLE, & BILANKO, PLLC
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 1          27.     We have also initiated an investigation into the source and extent of said hacking
 2   attempts with our computer experts. However, due to the shortened briefing schedule issued by
 3   the Court, our computer experts were unable to finish their extensive investigation in time to file
 4   a report with this response. Nevertheless, we expect to have our computer experts finish their
 5   investigation by the end of this week and to have their report finished by next week, which we
 6   will provide to the Court as soon as it is complete.
 7          28.     As a direct result of the hacking attempts, harassment and threats issued to myself
 8   and my co-counsel in this matter, our firm has incurred significant expense in both physical and
 9   cyber security measures.
10          I declare under penalty of perjury under the laws of the United States of America that the

11   foregoing is true and correct.
12
13          SIGNED on January 27, 2021
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15
                                                            /s/ Michael J. Saltz
16                                                          Michael J. Saltz
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     DECLARATION OF MICHAEL J.                          CARROLL, BIDDLE, & BILANKO, PLLC
     SALTZ -14                                                      1000 2nd Avenue, Suite 3100
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From:                            Michael P. Brown <mbrown@gordontilden.com>
Sent:                            Monday, January 18, 2021 8:04 AM
To:                              Michael Saltz; Lani Levine; Jeffrey Bilanko; Suki Kaplan
Subject:                         Fake "Complaint"


Katie did not make this “complaint.” The phone number is not hers.




Michael P. Brown

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One Union Square
600 University Street, Suite 2915
Seattle, Washington 98101
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From:                       Michael Saltz
Sent:                       Monday, January 18, 2021 9:45 AM
To:                         Michael P. Brown; Lani Levine; Jeffrey Bilanko; Suki Kaplan
Subject:                    3171-005 RE: Fake "Complaint"




Mr. Brown:

The other hacker is disclosing information of your clients’ plans to delete evidence and bring
false charges against me.

They claim that your clients gave them a special IP address and passwords to do their work on
their behalf. Part of that was to sign myself up with various porn sites and then make police
reports against me claiming I am a pedophile. The hackers claim to be 13 and 15 years old and
were hired by your clients through Facebook. They claim that this was done to discredit me so
that I could not prosecute the case.

They also claim that your client was fabricating evidence to make a claim that we were
harassing her.

They also claim that they were told to try and hack into your clients’ accounts to make it look
like she was being hacked too so she could pretend to be a victim.

There is evidence of open communications and planning between your clients and the hackers’
accounts, as all involved foreshadowed that they were going to hit us with a big surprise.

We demand to know what your involvement or knowledge was of these alleged plans.

Be advised that we are immediately sending a subpoena to Twitter to obtain the full identity of
these now admitted hackers that your client purportedly hired. I assume, under the
circumstances, you will not be objecting.

Be advised that the hackers claim to have documented all interactions with your clients.

Yours truly,


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disclosure, copying, distribution or use of any of the information contained in or attached to this message is STRICTLY
PROHIBITED. Interception of e-mail is a crime under the Electronic Communications Privacy Act, 18 U.S.C. 2510-2521
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by telephone at 310.446.9900, and destroy the original transmission and its attachments without reading them or saving
them to disk.




                                                             2
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From:                              Michael P. Brown <mbrown@gordontilden.com>
Sent:                              Monday, January 18, 2021 10:01 AM
To:                                Michael Saltz; Lani Levine; Jeffrey Bilanko; Suki Kaplan
Subject:                           RE: 3171-005 RE: Fake "Complaint"


We need to get the court involved ASAP. Katie denies your allegations, and I certainly know nothing about any hacking
or the other stuff. I do know that Katie is under a barrage of people attempting to link her Google account to people she
does not know. It would be the least surprising thing in the world if it turns out that one of your thousands of
“followers” is setting her up.

I am skeptical about your allegations, but they should be aired in front of the judge. I also have concerns that I want
addressed.

I don’t think we can get her attention on a holiday, but perhaps we should send an email or something today.

Michael P. Brown

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w: gordontilden.com
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